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5    Attorneys for the
     United States of America
6

7

8                        IN THE UNITED STATES DISTRICT COURT

9                           EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,              ) NO. 1:12-CR-00106 LJO
                                            )
11             Plaintiff,                   )
                                            ) STIPULATION AND ORDER TO DISBURSE
12        v.                                ) FUNDS FROM CERTAIN BANK ACCOUNTS
                                            )
13   ROBERTO OLIVARES,                      )
                                            )
14             Defendant.                   )
                                            )
15

16       WHEREAS, in or about June 2008, Bank of America was served with
17   a search warrant and affidavit duly authorized by a judge of the
18   Tulare Superior Court (the “Search Warrant”) requesting certain
19   information about and freezing certain bank accounts held in the name
20   of “Robert Olivares” or business name “Success Income Tax or Success
21   Auto Insurance;
22       WHEREAS, in response to a request set forth in the Search
23   Warrant, Bank of America provided certain information about and froze
24   certain bank accounts held in the name of “Robert Olivares” or
25   business name “Success Income Tax or Success Auto Insurance;”
26       WHEREAS, the parties to this Stipulation understand that certain
27   of those frozen bank accounts presently contain monies, including
28   Personal Bank Account ending in x2722 (approximate balance $2,334),
29                                            -1-
                STIPULATION AND [PROPOSED] ORDER TO DISBURSE FUNDS FROM ACCOUNTS
30
           Case 1:12-cr-00106-LJO-BAM Document 89 Filed 11/10/14 Page 2 of 5


1    and Business Bank Account ending in x7379 (approximate balance

2    $376.41);

3          WHEREAS, the parties to this Stipulation wish to disburse all

4    the monies as set forth below in furtherance of satisfying the

5    sentence and restitution ordered in United States v. Olivares et al.,

6    (Case No. 1:12-cr-00106 LJO);

7          ACCORDINGLY, the parties hereby stipulate and apply for entry of

8    an order directing Bank of America to disburse all monies in Personal

9    Bank Account ending in x2722 and Business Bank Account ending in

10   x7379 and issue two cashier’s checks in the total amount of the funds

11   presently on deposit in those two accounts, as set forth below:

12         (1) Cashier’s check payable to “Roberto Olivares” in the amount
           of $400 (less any fees associated with the drafting of these
13         cashier’s checks). Bank of America shall transmit this check to
           “Jeffrey Hammerschmidt, Esq., 2445 Capitol Street, Suite 150
14         Fresno, California 93721.”
15         (2) Cashier’s check payable to “Clerk of the U.S. District
           Court” for the balance of the funds remaining in the two
16         accounts (approximately $2,334), with the following note added
           to the check’s memo section: “For deposit, U.S. v. Olivares,
17         1:12-cr-00106 LJO.” Bank of America shall transmit this check
           to “Clerk of the U.S. District Court, 501 I Street, Suite 4-200,
18         Sacramento, California, 95814.”
19
           AND FURTHER, that Bank of America, within 14 days of service of
20
     the Court’s order, transmit said two cashier’s checks to the
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     ///
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29                                              -2-
                  STIPULATION AND [PROPOSED] ORDER TO DISBURSE FUNDS FROM ACCOUNTS
30
         Case 1:12-cr-00106-LJO-BAM Document 89 Filed 11/10/14 Page 3 of 5


1    addresses noted above, along with a copy of this stipulation and the

2    order entered thereon.

3
     Dated:   October __, 2014                        BENJAMIN B. WAGNER
4                                                     United States Attorney
5
                                                By:    /s/ Christopher D. Baker
6                                                     CHRISTOPHER D. BAKER
                                                      Assistant U.S. Attorney
7

8

9                                                     ROBERTO OLIVARES
                                                      Defendant
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11
                                                       /s/
12                                                    JEFFREY HAMMERSCHMIDT
                                                      Attorney for defendant
13                                                    Roberto Olivares
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                STIPULATION AND [PROPOSED] ORDER TO DISBURSE FUNDS FROM ACCOUNTS
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           Case 1:12-cr-00106-LJO-BAM Document 89 Filed 11/10/14 Page 4 of 5


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7

8                        IN THE UNITED STATES DISTRICT COURT

9                           EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,              ) NO. 1:12-CR-00106 LJO
                                            )
11               Plaintiff,                 )
                                            ) ORDER TO DISBURSE FUNDS FROM
12         v.                               ) CERTAIN BANK ACCOUNTS
                                            )
13   ROBERTO OLIVARES,                      )
                                            )
14               Defendant.                 )
                                            )
15

16         In furtherance of satisfying the sentence and restitution
17   ordered in this case, Bank of America shall disburse all monies in
18   Personal Bank Account ending in x2722 and Business Bank Account
19   ending in x7379 and issue two cashier’s checks in the total amount of
20   the funds on deposit in those two accounts, as set forth below:
21         (1) Cashier’s check payable to “Roberto Olivares” in the amount
           of $400 (less any fees associated with the drafting of these
22         cashier’s checks). Bank of America shall transmit this check to
           “Jeffrey Hammerschmidt, Esq., 2445 Capitol Street, Suite 150
23         Fresno, California 93721.”
24         (2) Cashier’s check payable to “Clerk of the U.S. District
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25         accounts (approximately $2,334), with the following note added
           to the check’s memo section: “For deposit, U.S. v. Olivares,
26         1:12-cr-00106 LJO.” Bank of America shall transmit this check
           to “Clerk of the U.S. District Court, 501 I Street, Suite 4-200,
27         Sacramento, California, 95814.”
28   ///
29
                              ORDER TO DISBURSE FUNDS FROM ACCOUNT
30
          Case 1:12-cr-00106-LJO-BAM Document 89 Filed 11/10/14 Page 5 of 5


1         Within 14 days of service of this Order, Bank of America shall

2    transmit said two cashier’s checks to the addresses noted above,

3    along with a copy of this stipulation and the order entered thereon.

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5    IT IS SO ORDERED.
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       Dated:   November 10, 2014                /s/ Lawrence J. O’Neill
7                                           UNITED STATES DISTRICT JUDGE

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                             ORDER TO DISBURSE FUNDS FROM ACCOUNT
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